Case 1:96-cv-03327-JLK Document 51 Entered on FLSD Docket 01/16/1998 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO. 96-3327-CIV-KING

PULSE (People United to Lead the
Struggle for Equality, Inc.),
REV. RICHARD DUNN, REV. VANE FIED by AN
EUBANKS, REV. CHARLES a
WEATHERSPOON and RALPH JAN 0 8 1993
PACKINGHAM

CARLUS JULUKE
CLERK U.S. DIST. CT.
$.D. OF FLA. - MIAMI

   

 

Plaintiffs,
vs.
CITY OF MIAMI et al.,

Defendants.

oe Co

ORDER DISMISSING CASE;
REFERRING TO MAGISTRATE DETERMINATION OF ATTORNEY'S FEES AND COSTS

THIS CAUSE is before the Court upon Plaintiffs’ Motion to Dismiss
as Moot and For Determination of Entitlement to Attorney’s Fees and
Costs. Plaintiffs state that they have already achieved the relief
sought and that they wish to dismiss the above-styled case.

Accordingly, after a careful review of the record, and the Court
being otherwise fully advised, it is

ORDERED and ADJUDGED that the above-styled case be, and the same
is hereby, DISMISSED. It is further

ORDERED and ADJUDGED that, pursuant to 28 U.S.C. § 636 and the
Magistrate Rules of the Local Rules of the Southern District of
Florida, Plaintiffs’ Motion for Determination of Entitlement to

e\
4
L9
Case 1:96-cv-03327-JLK Document 51 Entered on FLSD Docket 01/16/1998 Page 2 of 2

Attorney's Fees and Costs, be and the same is hereby, REFERRED to the
Hon. Barry L. Garber, United States Magistrate-Judge for the Southern
District of Florida, to take all necessary and proper action as
required by law.

DONE and ORDERED in Chambers at the James Lawrence King Federal
Justice Building and United States District Courthouse, Miami, Florida,

this 7th day of January, 1998.

 
  
  

Lose

ES LAWRENCE KING
-S. DISTRICT JUDGE
OUTHERN DISTRICT OF FLORIDA

 

cc: Hon. Barry L. Garber, U.S. Magistrate
Donna M. Baliman, Esq.
Charles Mays, Esq.
